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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. l8-80545-CIV-MIDDLEBROOKS

  SREAM, INC., a California Corporation, and
  ROOR INTERNATIONAL BV, a Foreign
  Corporation,

         Plaintiffs,

  v.

  THE SMOKERS EDGE, LLC, d/b/a
  THE SMOKERS EDGE, a Florida Corporation,
  RAYMOND POTEET, and JULIA POTEET,

        Defendants.
  _____________________________________________/

      ORDER DENYING DEFENDANTS’ MOTION TO ALTER OR AMEND JUDGMENT

         THIS CAUSE is before the Court upon Plaintiffs’ Motion to Alter or Amend Judgment

  under Federal Rule of Civil Procedure 59(e) filed by Plaintiffs Sream, Inc and Roor International

  BV on March 3, 2020. (DE 78). Defendant, The Smokers Edge, responded on March 16, 2020.

  (DE 80). Plaintiffs replied on March 30, 2020. (DE 88). For the following reasons, Defendants’

  Motion is denied.

                                          BACKGROUND

         This is a trademark case about a water pipe sold by Defendant, a store which sells smoker’s

  products. (DE 59 ¶ 3). Defendant is owned by Raymond and Julia Poteet.1 In December of 2015,

  Ms. Poteet purchased a single water pipe from a distributer and sold it for $15.90 in her store. (DE

  59 ¶¶ 6,7). This water pipe bore the mark “RooR,” which, unbeknownst to her,2 was a counterfeit



  1
    Raymond and Julia Poteet were originally named as Defendants, but were dismissed before trial.
  (DE 49).
  2
    I found that “Julia Poteet’s testimony was credible in that the Poteets were unaware of the
  counterfeit nature of one or more pipes in their shop.” (DE 59 at 7).
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  mark. (DE 59 ¶¶ 6,8). Authentic RooR pipes are of a much higher quality than the pipe sold by

  Defendant; for example, authentic RooR pipes never use rubber grommets. (DE 59 ¶ 11).

         Based on the sale of this counterfeit pipe, Plaintiffs initiated a trademark action against

  Defendant on April 26, 2018. (DE 1). This case proceeded to a bench trial on February 4, 2019.

  (DE 52).

         At trial, I considered whether Defendant’s allegedly infringing acts violated the Lanham

  Act by analyzing whether Defendant (l) “had prior rights to the mark at issue

   and (2) whether “defendant had adopted a mark or name that was the same, or confusingly similar

  to its mark, such that consumers were likely to confuse the two.’” Chanel, Inc. v. besumart.com,

  240 F. Supp. 3d 1283, 1289 (S.D. Fla. 2016) (quoting Planetary Motion, Inc. v. Techsplosion, Inc.,

  261 F.3d l 188, 1193 (11th Cir. 2001)). In determining whether Defendant’s use of the mark would

  create consumer confusion, I considered the seven factors set forth by the Eleventh Circuit: (1 )

  type of mark; (2) similarity of mark; (3) similarity of the products the mark represents; (4)

  similarity of the parties’ retail outlets and customers; (5) similarity of advertising media; (6)

  defendant’s intent; and (7) actual confusion. See Frehling Enters., Inc. v. Int’1 Select Grp., Inc.,

  l92 F.3d 1330, 1335-41 (11th Cir. 1999), Lone Star Steakhouse & Saloon, Inc. v. Longhorn Steaks,

  Inc., 122 F.3d 1379, 1382 (11th Cir. 1997).

         I found that Plaintiffs had failed to satisfy the final five factors. Significantly, I found that

  “the quality of the counterfeit pipe Defendant sold was so poor, and the price at which it was

  offered was so far below market value, that there would be almost no likelihood that any person

  would be deceived, aside from the most naïve consumer.” (DE 59 at 7). Accordingly, I entered

  judgment in favor of Defendant. (DE 60).

         On March 21, 2019, Defendant moved for attorney’s fees under the Lanham Act. (DE 70).

  The Lanham Act states that a court may award a prevailing party reasonable attorney’s fees “in

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  exceptional cases.” 15 U.S.C. § 1117(a). “District courts may determine whether a case is

  ‘exceptional’ in the case-by-case exercise of their discretion, considering the totality of the

  circumstances.” Octane Fitness, LLC v. ICON Health & Fitness, Inc., 572 U.S. 545, 554 (2014). I

  found that this case was exceptional and accordingly entered an Order awarding Defendant

  $32,155.00 in attorney’s fees. (DE 77). Plaintiffs now seek reconsideration of my Order Awarding

  Attorney’s Fees.

                                        LEGAL STANDARD

         Rule 59(e) of the Federal Rules of Civil Procedure allows a trial court to entertain a motion

  to alter or amend a judgment if such motion is made within 28 days after the entry of the judgment.

  Here, I entered my Order Awarding Attorney’s Fees on February 4, 2020 (DE 77) and Plaintiffs

  filed this Motion on March 3, 2020 (DE 78). Accordingly, the Motion is timely.

         “The only grounds for granting a Rule 59 motion are newly-discovered evidence or

  manifest errors of law or fact.” Arthur v. King, 500 F.3d 1335, 1343 (11th Cir. 2007) (quoting In

  re Kellogg, 197 F.3d 1116, 1119 (11th Cir. 1999)). “The decision to alter or amend judgment is

  committed to the sound discretion of the district judge.” Lawson v. Singletary, 85 F.3d 502, 507

  (11th Cir.1996) (quoting American Home Assur. Co. v. Glenn Estess & Assocs., Inc., 763 F.2d

  1237, 1238-39 (11th Cir.1985)).

         Rule 59(e) is not a vehicle through which litigants may simply ask the Court to reconsider

  issues that were previously fully evaluated and analyzed. Michael Linet, Inc. v. Village of

  Wellington, Fla., 408 F.3d 757, 763 (11th Cir. 2005) (“[A party] cannot use a Rule 59(e) motion

  to relitigate old matters . . .”). Instead, a Rule 59(e) motion should be granted only where the court

  “overlooked or misapprehended” arguments raised by a party. Perry v. Comm’r, Fla. Dep't of

  Corr., No. 18-14549-E, 2019 WL 1953304, at *1 (11th Cir. Mar. 28, 2019).



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                                             DISCUSSION

         In my Order Awarding Attorney’s Fees, I analyzed the exceptional nature of Plaintiffs’

  case on three grounds. I addressed those grounds in sections of the Order which are titled 1)

  Proceeding Despite Unsuccessful Discovery, 2) Failure to Investigate the Distributor and 3)

  Laches. Each section addressed an independent basis upon which Plaintiffs’ case could be

  considered exceptional. I concluded that “in combination” these three grounds supported an award

  of attorney’s fees. Plaintiffs now argue that “[i]t follows then that if this Court were not right in

  the application of law or analysis in any one of the three grounds, the entire exceptional case

  finding and consequently the Order should be altered.” (DE 88). This is incorrect. Although these

  factors were considered in combination, I do not find that all three are necessary to support an

  award of fees. The exceptional nature of a case is a holistic inquiry and should be analyzed as such.

         I.      Proceeding Despite Unsuccessful Discovery

         In my Order Awarding Attorney’s Fees, I concluded that once Plaintiffs determined

  through discovery that there was no evidence of consumer confusion, they should have settled this

  case, as there was limited evidence to support a likelihood of consumer confusion. Plaintiffs argue

  that there was a reasonable likelihood of consumer confusion, and in any case, that Plaintiffs’

  decision to proceed with this case does not make it exceptional within the meaning of the Lanham

  Act.

         Before considering the substance of Plaintiffs’ arguments, it is necessary to discuss the

  present posture of this case. Plaintiffs have moved for reconsideration only of my Order Awarding

  Attorney’s Fees. Plaintiffs are not seeking reconsideration of my Order setting forth findings of

  fact and conclusions of law following the bench trial held on February 4, 2019 (DE 59). Indeed,

  Plaintiffs could not move for reconsideration of that Order, as the time do so has long since expired.

  Still, in the present Motion, Plaintiffs make several arguments which appear aimed at undermining

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  my prior factual findings and/or legal conclusions. I find that such arguments are inappropriate

  and I decline to substantively consider them.

         Specifically, in my Order Following Bench Trial, I stated that:

         I found quite persuasive the testimony from Plaintiffs' own witnesses that the quality of the
         counterfeit pipe Defendant sold was so poor, and the price at which it was offered was so
         far below market value, that there would be almost no likelihood that any person would be
         deceived, aside from the most naïve consumer. Indeed, it seems unlikely that a customer
         this naïve would visit a smoke shop like Defendant's. On these facts, Plaintiffs did not
         establish likelihood of consumer confusion, and this is fatal to their trademark infringement
         and false designation of origin claims.

  (DE 53 at 7). Relying upon that finding, I concluded in my Order Awarding Attorney’s Fees that,

  given the discrepancies between the pipes, the inference of consumer confusion was weak and thus

  it was unwise for Plaintiffs to proceed to trial. (DE 77 ay 5).

         Plaintiffs now argue that a consumer could “very well could have thought that RooR

  introduced a cheaper line of water pipes near a $15 price point.” (DE 78 at 4). If Plaintiffs believed

  this argument undermined my finding as to the likelihood of consumer confusion, Plaintiffs should

  have raised this argument in a Motion for Reconsideration of my Order Following Bench Trial.

  However, Plaintiffs did not do so. Accordingly, at this juncture Plaintiffs are only entitled to argue

  that even though “there would be almost no likelihood that any person would be deceived, aside

  from the most naïve consumer,” such a finding does not make this case exceptional, so as to

  support an award of attorney’s fees. For the reasons discussed in my Order Awarding Attorney’s

  Fees, I find such an argument unavailing.

  II.    Failure to Investigate the Distributor

         In my Order Awarding Attorney’s Fees, I determined that Plaintiffs’ position was

  undermined as Plaintiffs chose to proceed against only the seller, rather than the distributor, of the

  counterfeit RooR pipe. I noted that the distributor had likely caused Plaintiffs much greater harm,

  as Defendant appears to have sold only one, and in no case more than eight, counterfeit pipes.

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  Plaintiffs are, of course, correct that regardless of the extent of the harm “a single instance of

  trademark infringement is nonetheless an unlawful act for which the Lanham Act” and that

  Plaintiffs were therefore entitled to pursue this action. (DE 78 at 9). However, as I determined in

  my Order Following Bench Trial, Plaintiffs lacked the requisite intent to support liability. This

  lack of intent is supported by the small number of sales transactions at Defendant’s store. The

  distributor, however, would be much more likely to possess the requisite intent, and therefore

  would have been a more appropriate defendant. Regardless, I find that my reasoning in the other

  two sections are sufficient, in and of themselves, to support for an award of attorney’s fees.

         III.    Laches

         The equitable defense of laches requires the moving party to show “(1) a delay in asserting

  a right or a claim; (2) that the delay was not excusable; and (3) that there was undue prejudice to

  the party against whom the claim is asserted.” Kason Industries, Inc. v. Component Hardware

  Group, Inc., 120 F.3d 1199, 1203 (11th Cir. 1997). Plaintiffs argue that I erroneously found that

  their delay in bringing this action was prejudicial. In my Order Following Bench Trial, I found

  that, regarding laches, “Defendant demonstrated that the delay caused prejudice because

  Defendant was ultimately unable to effectively pursue a claim against the now-defunct third party

  distributor, H&H.” (DE 53 at 8). Plaintiffs now argue that “[a]ccording to Sunbiz records, H&H

  Distributor Inc was an active corporation until September 27, 2019” and thus “had the Defendant

  been found liable to the Plaintiffs, the Defendant could have sought a Default Judgment against

  H&H Distributor and recovered the damages it owed the Plaintiffs from H&H Distributor.” (DE

  78 at 13-14). Again, if Plaintiffs believed that my Order Following Bench Trial was in error,

  Plaintiffs should have moved for reconsideration of that Order. Plaintiffs failed to do so and thus

  are bound by my findings in that Order. Therefore, I decline to reconsider this finding.



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          Plaintiffs also argue that a 28-month delay in filing this case does not constitute a sufficient

  delay to support the defense of laches. In support, Plaintiffs cite an Eleventh Circuit decision which

  states that the statute of limitations for analogous state law claims is the “touchstone” for laches

  under the Lanham Act. Commodores Entm't Corp. v. McClary, 879 F.3d 1114, 1141 (11th Cir.

  2018). Plaintiffs also argue that their delay in bringing this action was not unreasonable given the

  number of other defendants against which they were proceeding. I considered this argument in my

  prior Order, stating that:

          Plaintiffs argue that the delay in bringing this suit was not unreasonable because
          Plaintiffs were investigating more than one hundred instances of retail infringement
          and the volume of litigation made it impracticable to initiate this action sooner.
          Plaintiffs further argue that laches should not apply because this suit was filed
          within the four-year statute of limitations. I do not find Plaintiffs' delay here to have
          been excusable or reasonable.

  (DE 53 at 8). Plaintiffs did not dispute this finding and therefore are limited to arguing that an

  inexcusable and unreasonable delay does not support an award of attorney’s fees. I find this

  argument unavailing.

          Therefore, upon due consideration of Plaintiffs’ Motion and the arguments contained

  therein, I do not find that Plaintiffs have identified any manifest error of law sufficient to support

  a contrary finding as to the award of attorney’s fees. Accordingly, it is hereby ORDERED AND

  ADJUDGED that Plaintiffs’ Motion to Alter or Amend Judgment (DE 78) is DENIED.

          SIGNED in Chambers in West Palm Beach, Florida, this 10th day of April, 2020.



                                                         ________________________________
                                                         DONALD M. MIDDLEBROOKS
                                                         UNITED STATES DISTRICT JUDGE




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